           Case 2:21-cv-01115-CRE Document 1 Filed 08/20/21 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF PENNSYLVANIA


MICHAEL N. VITANOVICH               )
                                    )
            Plaintiff,              )
                                    )
v.                                  )          Case No.: 2:21-CV -1115
                                    )
QUEST DIAGNOSTICS, INC., .          )
TRANSWORLD SYSTEMS,                 )
AND EQUIFAX                         )
                                    )
            Defendants.             )
____________________________________)

                                  NOTICE OF REMOVAL

      NOW INTO COURT, through undersigned counsel, comes Defendant, Transworld

Systems, Inc. (TSI), incorrectly identified as Transworld Systems in the Complaint, and,

pursuant to 28 U.S.C. § 1441 & 1446, et seq., hereby removes from the County Court of

Allegheny County for the Commonwealth of Pennsylvania, the following described and

captioned lawsuit, and respectfully shows:

      1.      TSI is a defendant in the civil action filed by plaintiff, Michael N.

Vitanovich, in the County Court of Allegheny County for the Commonwealth of

Pennsylvania, captioned as Michael N. Vitanovich v. Quest Diagnostics Inc., Transworld

Systems, and Equifax, Docket No. MJ-05219-CV-0000105-2021 (hereinafter the “State

Court Action”).

      2.      Pursuant to 28 U.S.C. §§ 1441 & 1446, TSI removes plaintiff’s State Court

Action to this Court, which is the judicial district in which the State Court Action is
                Case 2:21-cv-01115-CRE Document 1 Filed 08/20/21 Page 2 of 4




pending. Removal of plaintiff’s State Court Action is proper under 28 U.S.C. §§ 1441, et

seq. & 28 U.S.C. § 1331 and 15 U.S.C. § 1681.

           3.      TSI was served with the State Court Action Complaint on July 21, 2021.

This Notice of Removal is filed within 30 days of receipt of the complaint by TSI and is

therefore timely filed pursuant to 28 U.S.C. § 1446(b).

           4.      A copy of all process, pleadings and orders served upon TSI in the State

Court Action is being filed with this Notice and is attached hereto as Exhibit A.

           5.      The Complaint asserts state law claims which are wholly preempted by the

Fair Credit Reporting Act (FCRA), 15 U.S.C. §§ 1681, et seq

           6.      The Fair Credit Reporting Act, (hereinafter the “FCRA”) in pertinent part

states, “Limitation of liability: Except as provided in sections 1681n and 1681o1 of this

title, no consumer may bring any action or proceeding in the nature of defamation,

invasion of privacy, or negligence with respect to the reporting of information against any

…person who furnishes information to a consumer reporting agency, based on

information disclosed pursuant to section 1681g, 1681h, or 1681m of this title, … except

as to false information furnished with malice or willful intent to injure such consumer.”

See 15 U.S.C. § 1681h(e).2

           7.      This FCRA preemption is a complete and total defense to Plaintiff’s state

law claims as pled against TSI that pertain to credit reporting.




1   Sections 1681n and 1681o do not apply.
2   Plaintiff has not alleged any malice or willful intent to injure.
                                                        -2-
           Case 2:21-cv-01115-CRE Document 1 Filed 08/20/21 Page 3 of 4




      8.      The FCRA governs credit reporting, and Plaintiff’s claims are precisely the

claims that Congress sought to preempt when it passed the FCRA. See 15 U.S.C. §

1681h(e). See Gorman v. Wolpoff & Abramson, 584 F.3d 1147 (9th Cir. 2009).

      9.      As of the date of this filing, all named defendants that have been served

with the State Court Action Complaint consent to removal of the State Court Action.

      10.     For the foregoing reasons, removal is proper.

      WHEREFORE, Transworld Systems Inc. respectfully requests that this case proceed

in Federal Court as an action properly removed from County Court of Allegheny County,

Commonwealth of Pennsylvania, and for such other relief as this Court deems just and

proper.

Date: August 20, 2021                    Respectfully Submitted,

                                         s/ Danielle M. Vugrinovich
                                         Danielle Vugrinovich, Esq.
                                         PA ID No. 88326
                                         Marshall, Dennehey, Warner, Coleman &
                                         Goggin
                                         Union Trust Building, Suite 700
                                         501 Grant Street
                                         Pittsburgh, PA 15219
                                         Telephone: (412) 803-1140
                                         dmvugrinovich@mdwcg.com
                                         Attorneys for Defendant,
                                         Transworld Systems Inc.




                                          -3-
         Case 2:21-cv-01115-CRE Document 1 Filed 08/20/21 Page 4 of 4




                               CERTIFICATE OF SERVICE

      I hereby certify that on the August 20, 2021a copy of the foregoing was served via

US Regular Mail and e-mail on the following:

                       Michael N. Vitanovich – Pro Se Plaintiff
                                  174 Seminole Dr.
                               Pittsburgh, PA 15228
                            Telephone: (412) 956-6735
                            michaelvitano@yahoo.com

                                       _______________________
                                       s/ Danielle M. Vugrinovich
                                       Danielle Vugrinovich, Esq.
                                       PA ID No. 88326
                                       Marshall, Dennehey, Warner, Coleman &
                                       Goggin
                                       Union Trust Building, Suite 700
                                       501 Grant Street
                                       Pittsburgh, PA 15219
                                       Telephone: (412) 803-1140
                                       dmvugrinovich@mdwcg.com
                                       Attorneys for Defendant,
                                       Transworld Systems Inc.




                                         -4-
